      Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 1 of 7




                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
vs.                                       )      CR. NO.:      2:07-CR-282-WKW
                                          )
ERIC LANE SAUCIER                         )

                            ORDER ON ARRAIGNMENT

       On February 12, 2008, the above defendant appeared in person and in open court
with counsel, and was arraigned in accordance with the provisions of Rule 10 of the
Federal Rules of Criminal Procedure.

        PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the
defendant is requested to contact the U.S. Attorney immediately if the defendant intends
to engage in plea negotiations. If the defendant decides to change this plea, the parties
shall file a notice of intent to plead guilty or otherwise notify the clerk’s office at or
before the pretrial conference and then this action will be set on a plea docket.

        PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court
no longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants
may request the United States Probation Office to provide Sentencing Guideline
calculation assistance with the understanding that any estimate is tentative only and is not
binding on the United States Probation Office, the parties or the court. The court expects
that requests for Sentencing Guideline calculation assistance shall be the exception and
that defendants will not make such requests a matter of routine. A request for Sentencing
Guideline calculation assistance shall be made to the United States Probation Office not
later than 10 days from the date of this order.

       PRELIMINARY PRETRIAL CONFERENCE. A preliminary pretrial
conference is hereby set for March 20, 2008 at 1:00 p.m., in Courtroom 4B, United
States Courthouse Complex, One Church Street, Montgomery, Alabama. Counsel who
want incustody defendants to attend must notify the Magistrate Judge within three days of
the conference date so that an order to produce can be issued to the United States
Marshal.

      At the preliminary pretrial conference defense counsel and counsel for the
government shall be fully prepared to discuss the status of discovery and whether any
     Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 2 of 7




pretrial motions pursuant to FED.R.CRIM.P. 12(b) will be filed. Counsel should be fully
prepared to discuss the scheduling of proceedings to resolve any such motions.

       FINAL PRETRIAL CONFERENCE. A final pretrial conference is hereby set
for June 20, 2008 at 1:00 p.m., in Courtroom 4B, United States Courthouse Complex,
One Church Street, Montgomery, Alabama. Not later than three (3) days prior to the
date of the pretrial conference, counsel shall confer about the issues and matters to
be discussed at the pretrial conference as set forth in this order. Counsel who want
in-custody defendants to attend must notify the Magistrate Judge within three days of the
conference date so that an order to produce can be issued to the United States Marshal

        At the final pretrial conference defense counsel and counsel for the government
shall be fully prepared to discuss any pending motions, the status of discovery, possible
stipulations, and the estimated length of the trial. The defense counsel and counsel for the
government shall be fully prepared to provide a definite commitment as to the final
disposition of this case - by trial, plea or other non-trial disposition. If the prior resolution
of a dispositive motion will affect the nature of this commitment, counsel must be fully
prepared to discuss this type of resolution. If the case is for plea, the notice of intent to
enter a plea should be filed at the time of the pretrial conference. If counsel require
additional time for plea negotiations, counsel should be prepared to inform the court
about the date when those negotiations will be completed.

                TRIAL. At arraignment, the parties agreed that due to the nature of this
case, the need for adequate time for discovery and the need for counsel to have adequate
time for trial preparation, the case should be set for trial before United States District
Judge William Keith Watkins on the trial term beginning on August 18, 2008 unless
otherwise ordered by the court.

                 In setting this case for trial on the term indicated above, the court
recognizes that the Speedy Trial Act places limits on the court’s discretion, and that under
the act, the trial of a defendant must commence within 70 days of the date of the
indictment or the date of the defendant’s first appearance before a judicial officer,
whichever is later. 18 U.S.C. § 3161(c)(1). In determining whether a case should be set
after the expiration of the 70 day period, a court must consider among other factors
“[w]hether the failure to [set the case at a later date] . . . would be likely to . . . result in a
miscarriage of justice.” 18 U.S.C. § 3161(h)(8)(B)(I). The court also must consider
“whether the failure to grant such a continuance . . . would deny counsel for the defendant
or the attorney for the government the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence.” 18 U.S.C. §
3161(h)(8)(B)(iv). Based on the nature of this case, the parties’ need for adequate time
for discovery and the need for counsel to have adequate time for trial preparation, the

                                                2
     Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 3 of 7




court finds that the ends of justice served by setting this case on this trial term outweigh
the best interest of the public and the defendant in a speedy trial. Any requested voir dire
questions and jury instructions must be filed no later than one week before jury
selection.

              PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b)
and (d), 14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion
to compel pursuant to this court' standing order on discovery must be filed no later than
TWO DAYS BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS
CASE. No motion filed after this date will be considered unless filed with leave of court.
Unless otherwise ordered by the court, the continuance of the trial of a case will not
extend the time for filing pretrial motions. THE CONFERENCING REQUIREMENT
SET FORTH IN THE STANDING ORDER ON CRIMINAL DISCOVERY SHALL
BE MET BEFORE THE COURT WILL CONSIDER ANY DISCOVERY
MOTION. THE COURT WILL NOT GRANT MOTIONS TO ADOPT MOTIONS
FILED BY OTHER DEFENDANTS.

              Motions to suppress must allege specific facts which, if proven, would
provide a basis of relief. This court will summarily dismiss suppression motions which
are supported only by general or conclusory assertions founded on mere suspicion or
conjecture. All grounds upon which the defendant relies must be specifically stated
in the motion in separately numbered paragraphs in a section of the motion which is
labeled "Issues Presented.". Grounds not stated in the "Issues Presented" section of
the motion will be deemed to have been waived. See generally United States v.
Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).

             The government shall file a response to all motions filed by the defendant
on or before five days prior to the date set for a hearing on the motion or, if no
hearing is necessary, on or before ten (10) days after the date of the pretrial
conference.

              DISCOVERY. All discovery in this action shall be conducted according to
the requirements of this court's Standing Order on Criminal Discovery. A copy of the
standing order is attached and also may be found at http://www.almd.uscourts.gov.
Unless the government provided initial disclosures to defendant prior to or at
arraignment, the government is ORDERED to tender initial disclosures to the defendant
on or before February 12, 2008. Disclosures by the defendant, as required by ¶ 4 of the
Standing Order on Criminal Discovery shall be provided on or before February 19,
2008.



                                             3
     Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 4 of 7




             JENCKS ACT STATEMENTS. The government agrees to provide
defense counsel with all Jencks Act statements no later than the day scheduled for the
commencement of the trial.1

                MANDATORY APPEARANCE OF COUNSEL. Counsel of record for
all parties are ORDERED to appear at all future court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute counsel
appear on behalf of their clients. Any attorney who appears as substitute counsel for a
defendant shall have full authorization from the defendant to act on his or her behalf and
be fully prepared to proceed. Substitute counsel shall not be counsel for a co-defendant
unless permitted by the court after proper motion. Any counsel who wishes to have
substitute counsel appear must obtain permission of the court in advance.

             NOTE: Except in extraordinary circumstances or circumstances in
which the Constitution would require it, the court will not entertain motions to
withdraw filed by counsel who appear at arraignment unless the motions are filed
within seven days of the date of this order. Failure to obtain fees from a client is not
an extraordinary circumstance.

                Done this 12th day of February, 2008.



                                              /s/Charles S. Coody
                                         CHARLES S. COODY
                                         CHIEF UNITED STATES MAGISTRATE JUDGE




       1
           In certain complex cases, the government may agree to earlier production.

                                                    4
       Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 5 of 7




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA

                                                                                CR. MISC.
#534

                   STANDING ORDER ON CRIMINAL DISCOVERY

          It is the court's policy to rely on the standard discovery procedure as set forth in
this Order as the sole means of the exchange of discovery in criminal cases except in
extraordinary circumstances. This Order is intended to promote the efficient exchange of
discovery without altering the rights and obligations of the parties, but at the same time
eliminating the practice of routinely filing perfunctory and duplicative discovery motions.

        INITIAL DISCLOSURES:

       (1) Disclosure by the Government. At arraignment, or on a date otherwise set by
the court for good cause shown, the government shall tender to defendant the following:

       (A) Fed. R. Crim. P. 16(a) Information. All discoverable information within the
scope of Rule 16(a) of the Federal Rules of Criminal Procedure.

       (B) Brady Material. All information and material known to the government which
may be favorable to the defendant on the issues of guilt or punishment, without regard to
materiality, within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

      (C) Giglio Material. The existence and substance of any payments, promises of
immunity, leniency, preferential treatment, or other inducements made to prospective
witnesses, within the scope of United States v. Giglio, 405 U.S. 150 (1972).

       (D) Testifying informant's convictions. A record of prior convictions of any
alleged informant who will testify for the government at trial.

       (E) Defendant's identification. If a line-up, show-up, photo spread or similar,
procedure was used in attempting to identify the defendant, the exact procedure and
participants shall be described and the results, together with any pictures, and
photographs, shall be disclosed.

        (F) Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft,
was allegedly utilized in the commission of any offenses charged, the government shall
permit the defendant's counsel and any expert selected by the defense to inspect it, if it is
in the custody of any governmental authority.
     Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 6 of 7




        (G) Defendant's latent prints. If latent fingerprints, or prints of any type, have been,
identified by a government expert as those of the defendant, copies thereof shall be
provided.

       (H) Fed. R. Evid.404(b). The government shall advise the defendant of its
intention to introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the
Federal Rules of Evidence.

        (I) Electronic Surveillance Information. If the defendant was an aggrieved person
as defined in 18 U.S.C. § 2510(11), the government shall so advise the defendant and set
forth the detailed circumstances thereof.

       (2) Obligations of the Government.

        (A) The government shall anticipate the need for, and arrange for the transcription
of the grand jury testimony of all witnesses who will testify in the government's case in
chief, if subject to Fed. R. Crim. P. 26.2 and 18 U.S.C. ' 3500. Jencks Act materials and
witnesses' statements shall be provided as required by Fed. R. CRIM. P. 26.2 and 18
U.S.C. ' 3500. However, the government, and where applicable, the defendant, are
requested to make such materials and statements available to the other party sufficiently
in advance as
        to avoid any delays or interruptions at trial. The court suggests an early disclosure
of Jencks Act materials.,

       (B) The government shall advise all government agents and officers involved in
the case to preserve all rough notes.

        (C) The identification and production of all discoverable evidence or information
is the personal responsibility of the Assistant United States Attorney assigned to the case
and may not be delegated without the express permission of the court.

       (3) Disclosures to U.S. Probation. At arraignment, or on a date otherwise
designated by the court upon good cause shown, the government shall tender to the U.S.
Probation Office all essential information needed by U.S. Probation to accurately
calculate the sentencing guideline range for the defendant, including, but not limited to,
information regarding the nature of the offense (offense level), the nature of the victim
and the injury sustained by the victim, defendant's role in the offense, whether defendant
obstructed justice in the commission of the crime, defendant's criminal history, and any
information
       regarding defendant's status as a career offender/armed career criminal. In
addition, in order to comply with the requirements of the Anti-Terrorism Act, the
government shall produce to the U.S. Probation Office information regarding the victims
of defendant's alleged criminal activity, including, but not limited to, the identity of the
     Case 2:07-cr-00282-WKW-CSC Document 190 Filed 02/12/08 Page 7 of 7




victim by name, address, and phone number, and the nature and extent of the victim's loss
or injury.
       (4) Disclosures by the Defendant. If defendant accepts or requests disclosure of
discoverable information pursuant to Fed. R. CRIM. P. 16(a)(1)(C), (D), or (E),
defendant, on or before a date set by the court, shall provide to the government all
discoverable information within the scope of Fed. R. Crim. P. 16(b).

        SUPPLEMENTATION. The provisions of Fed. R. CRIM. P. 16(c) are applicable.
It shall be the duty of counsel for all parties to immediately reveal to opposing counsel all
newly discovered information, evidence, or other material within the scope of this Rule,
and there is a continuing duty upon each attorney to disclose expeditiously.

        MOTIONS FOR DISCOVERY. No attorney shall file a discovery motion without
first conferring with opposing counsel, and no motion will be considered by the court
unless it is accompanied by a certification of such conference and a statement of the
moving party's good faith efforts to resolve the subject matter of the motion by agreement
with opposing counsel. No discovery motions shall be filed for information or material
within the scope of this Rule unless it is a motion to compel, a motion for protective order
or a
        motion for an order modifying discovery. See Fed. R. CRIM. P. 16(d). Discovery
requests made pursuant to Fed. R. CRIM. P. 16 and this Order require no action on the
part of this court and shall not be filed with the court, unless the party making the request
desires to preserve the discovery matter for appeal.

       Done this 4th day of February, 1999.

                                                  /s/ W. Harold Albritton

                                                  CHIEF UNITED STATES DISTRICT
JUDGE

                                                  /s/ Myron H. Thompson

                                                  UNITED STATES DISTRICT JUDGE

                                                  /s/ Ira De Ment

                                                  UNITED STATES DISTRICT JUDGE
